

ORDER

Suspension Ordered.
MARCUS, J., not on panel.
Considering the foregoing Joint Petition for Interim Suspension:
IT IS ORDERED, ADJUDGED AND DECREED that respondent, GLENN M. CONSTANTINO, JR., attorney at law, be and he is placed on interim suspension from the practice of law, said suspension to be effective January 31, 1997, and remaining in effect until further orders of this court.
IT IS FURTHER ORDERED, ADJUDGED AND DECREED that from the date of filing of the petition until the effective date of the interim suspension, January 31, 1997, respondent shall not undertake the representation of new clients and shall comply fully with Supreme Court Rule XIX, Section 26.
The Office of Disciplinary Counsel is directed to institute disciplinary proceedings pursuant to Supreme Court Rule XIX, Section 11.
